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 5
     Attorney for Defendant
     JEREMY R. WARREN
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-15-189 GEB
                                                      )
10
                                                      )
             Plaintiff,                               )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
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                                                      )       [PROPOSED] FINDINGS AND ORDER
     JEREMY R. WARREN,                                )
13
                                                      )
                                                      )       Date: December 8, 2017
14           Defendant.                               )       Time: 9:00 a.m.
                                                      )       Judge: Honorable Garland E Burrell, Jr.
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                                                      )
                                                      )
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             The United States of America through its undersigned counsel, Michael M. Beckwith,
19
     Assistant United States Attorney, together with counsel for defendant Jeremy Warren, John R.
20
     Manning, Esq., hereby stipulate the following:
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22        1. By previous order, this matter was set for status conference on October 20, 2017.

23        2. By this stipulation, the defendant now moves to continue the status conference until
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     December 8, 2017 and to exclude time between October 20, 2017 and December 8, 2017 under
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     the Local CodeT-4 (to allow defense counsel time to prepare). The parties agree and stipulate,
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     and request the Court find the following:
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28           a.     Counsel for the defendant was appointed on June 17, 2016.



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            b. The government has produced approximately 1,300 pages of discovery and 26 audio
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 2              files.

 3          c. Counsel for the defendant needs additional time to review the discovery, conduct
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                investigation, interview potential witnesses, and meet with the defendant.
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            d. Counsel for the defendant believes the failure to grant a continuance in this case
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 7
                would deny defense counsel reasonable time necessary for effective preparation,

 8              taking into account the exercise of due diligence.
 9          e. The Government does not object to the continuance.
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            f. Based on the above-stated findings, the ends of justice served by granting the
11
                requested continuance outweigh the best interests of the public and the defendant in a
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13              speedy trial within the original date prescribed by the Speedy Trial Act.

14          g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) within which trial must commence, the time period of October
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                20, 2017, to December 8, 2017, inclusive, is deemed excludable pursuant to 18
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                United States Code Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code
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19              T-4 because it results from a continuance granted by the Court at the defendant's

20              request on the basis of the Court’s finding that the ends of justice served by taking
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                such action outweigh the best interest of the public and the defendant in a speedy
22
                trial.
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        3. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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25   Speedy Trial Act dictate that additional time periods are excludable from the period within which

26   a trial must commence.
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 2      IT IS SO STIPULATED.

 3
     Dated: October 18, 2017                            /s/ John R. Manning
 4
                                                        JOHN R. MANNING
 5                                                      Attorney for Defendant
                                                        Jeremy Warren
 6

 7
     Dated: October 18, 2017                            Phillip A. Talbert
                                                        United States Attorney
 8
                                                 by:    /s/ Michael M. Beckwith
 9                                                      MICHAEL M. BECKWITH
10
                                                        Assistant U.S. Attorney

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12
                                          ORDER
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                               IT IS SO FOUND AND ORDERED.
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                                   Dated: October 19, 2017
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